                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                            )
                                                     )              Case No. 1:11-cr-73
 v.                                                  )              COLLIER / LEE
                                                     )
 DIANIK BARROSO                                      )
                                                     )

                                            ORDER


        On February 10, 2012, Magistrate Judge Susan K. Lee filed a report and recommendation

 recommending the Court: (1) grant Defendant’s motion to withdraw her not guilty plea to Counts

 One and Twenty-One of the twenty-one-count Indictment (2) accept Defendant’s plea of guilty to

 Counts One and Twenty-One of the Indictment; (3) adjudicate Defendant guilty of the charges set

 forth in Counts One and Twenty-One of the Indictment; (4) defer a decision on whether to accept

 the plea agreement until sentencing; and (5) Defendant has been released on bond under appropriate

 conditions of release pending sentencing in this matter (Court File No 158). Neither party filed a

 timely objection to the report and recommendation. After reviewing the record, the Court agrees

 with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation (Court File No. 158) pursuant to 28

 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Counts One and Twenty-One

                of the Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Counts One and Twenty-One of the Indictment is

                ACCEPTED;



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       (3)   Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

             Twenty-One of the Indictment;

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

             pending sentencing in this matter, which is scheduled to take place on Thursday,

             June 7, 2012 at 2:00 p.m. [EASTERN] before the Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:


                                          /s/
                                          CURTIS L. COLLIER
                                          CHIEF UNITED STATES DISTRICT JUDGE




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